  Case 19-02463          Doc 42   Filed 07/01/22 Entered 07/01/22 17:06:20            Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                        )
                                              )       CASE NO. 19-02463
         Elaine Cooper                        )       HON. Jacqueline P. Cox
                                              )       CHAPTER 13
         DEBTOR.                              )

                                     NOTICE OF MOTION
NOTICE OF MOTION TO: Thomas H. Hooper, 55 E. Monroe Street, Suite 3850, Chicago, IL
60603, via electronic court notification;

THE SEMRAD LAW FIRM LLC via Clerk's ECF noticing procedures;

Elaine Cooper, 2262 W 111th St, Apt F, Chicago, IL 60643.

       Please take notice that on July 18, 2022, at 9:00 a.m., I will appear before the Honorable
Jacqueline P. Cox, or any judge sitting in that judge’s place, and present the motion to substitute
attorney, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646- 828-
7666. Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 161 273 2896 and the
password is 778135. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he served a copy of this notice and the
attached motion, on each entity shown on the attached list at the address shown and by the
method indicated on the list on July 1, 2022, via U.S. Mail with postage prepaid from the
mailbox located at 10258 S Western Avenue, Suite 210A, Chicago IL 60643




                                                        /s/ Steve Miljus
                                                       Feldman Garcia Leshinsky & Miljus, LLC
                                                       10258 S Western Avenue, Suite 210A
                                                       Chicago IL 60643
                                                       (312) 248-2781
                                                       smiljus@fglmlawgroup.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                        )
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         Elaine Cooper                        )       HON. Jacqueline P. Cox
                                              )       CHAPTER 13
         DEBTOR.                              )

                           MOTION TO SUBSTITUTE ATTORNEY


       NOW COMES, Elaine Cooper, (Debtor), by and through Debtor’s attorneys, Feldman
Garcia Leshinsky & Miljus, LLC (FGLM), and for her Motion to Substitute Attorney, states as
follows:

   1. On January 29, 2019 (“Petition Date”), Debtor filed her Petition for Relief under

         Chapter 13 of the United States Bankruptcy Code, and the Debtor’s Plan was confirmed

         on March 18, 2019.

   2. The Debtor no longer wishes to be represented by The Semrad Law Firm, LLC (Semrad)

         Instead, the Debtor wishes to retain Steve Miljus of FGLM to represent her in this case.

   3. On March 18, 2019, this Court entered an order approving attorney’s fees totaling

         $4,000.00 for legal services through conclusion of the case.

   4. Debtor has paid Semrad a total of $4,000.00 but the case is not complete. The Debtor is in

         the 42nd month of the plan, has an estimated plan balance of 21 months.

   5. FGLM has reviewed the petition and plan and has entered into an agreement to charge the

         Debtor a total of $1,100.00 to represent her through the completion of the case (the

         remaining Plan balance is roughly 33% of the overall Plan term and FGLM’s fee is roughly

         27% of the total fee).
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   6. Debtor requests that Semrad refund a total of $1,100.00 they have received for legal

       services and have funds mailed to FGLM to compensate Debtor’s new attorney for legal

       services through the conclusion of the case.

   7. That On July 1, 2022, Steve Miljus notified Patrick Semrad of Debtor’s intent to terminate

       her relationship with Semrad and retain him as counsel in this case.

       WHEREFORE, the Debtor prays that this Court enter an order substituting Steve Miljus
of Feldman Garcia Leshinsky & Miljus, LLC for Patrick Semrad of The Semrad Law Firm, LLC
as Debtor’s counsel in this Bankruptcy case, and asks for such other and further relief as is just
and necessary.


                                                      Respectfully submitted,

                                                        /s/ Steve Miljus
                                                        Feldman Garcia Leshinsky & Miljus, LLC
                                                        10258 S Western Avenue
                                                        Suite 210A
                                                        Chicago IL 60643
                                                        (312) 248-3382
